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                                                                             (SPACE BELOW FOR FILING STAMP ONLY)
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 4

 5
     ATTORNEYS FOR Defendant,
 6                   ERIK GESUS RIVERA

 7

 8                               UNITED STATES DISTRICT COUNT
 9                               EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         Case No: 1:14-CR-00048–LJO SKO
11
                   Plaintiffs,
12                                                          STIPULATION TO CONTINUE
13          v.                                                    SENTENCING
                                                                      AND
14   ERIK GESUS RIVERA,                                             ORDER

15                 Defendants.

16

17          TO:    THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S
18   OFFICE and/or ITS REPRESENTATIVES:
19
            IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective
20
     clients that the Sentencing hearing currently on calendar for August 3, 2015, at 9:30 a.m., be
21
     continued to August 31, 2015, at 8:30 a.m., or as soon thereafter as is convenient to the court’s
22
     calendar.
23
            IT IS FURTHER STIPULATED that the deadlines for the Presentence schedule,
24
     including the filing informal and formal objections to the Pre-Sentence Investigation Report, be
25

26   scheduled as follows:

27   ///

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                                                   1
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 1                 Report Available to Defense Counsel and AUSA on or before July 27, 2015.

 2                 Informal Objections to be served on or before August 17, 2015.
 3                 Formal Objections to be filed on or before August 24, 2014.
 4
            This continuance is requested by counsel for Defendant, ERIK GESUS RIVERA, due to
 5
     the fact that additional time is needed to complete the interview with the Probation Office. Mr.
 6
     Rivera had an appointment scheduled with Probation on June 1, 2015, however, due to a family
 7
     illness, he was unable to attend the meeting. The Probation meeting has been rescheduled for
 8
     June 17, 2015. Once the interview is completed, the Probation Office will need time to prepare
 9
     the Presentence Report.
10

11          Counsel for Defendant has spoken with Assistant U.S. Attorney, BRIAN DELANEY,

12   who has no objection to this continuance.

13   Dated: June 16, 2015                 Respectfully Submitted,

14                                        NUTTALL & COLEMAN
                                          /s/ Mark W. Coleman
15
                                          MARK W. COLEMAN
16                                        Attorney for Defendant,
                                          ERIK GESUS RIVERA
17
     Dated: June 16, 2015.                UNITED STATES ATTORNEY’S OFFICE
18
                                          /s/ Brian Delaney
19
                                          BRIAN DELANEY
                                          Assistant U.S. Attorney
20
                                                 *******
21
                                                 ORDER
22   IT IS SO ORDERED.
23
        Dated:    June 16, 2015                            /s/ Lawrence J. O’Neill
24                                                      UNITED STATES DISTRICT JUDGE

25

26

27

28
                                                    2
